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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

                                             )
UNITED STATES OF AMERICA                     )       CRIMINAL NO. 3:13CR226(RNC)
                                             )
       v.                                    )
                                             )
DANIEL E. CARPENTER                          )
                                             )       NOVEMBER 14,2017

            MR. CARPENTER'S MEMORANDUM IN SUPPORT OF HIS
                    MOTION FOR RECONSIDERATION OF
                 THE COURT'S DENIAL OF MR. CARPENTER'S
             REQUEST FOR A NEW TRIAL PURSUANT TO RULE 33

PRELIMINARY STATEMENT

       The defendant respectfully requests the Court reconsider the denial of his Rule 33 as the

interests of justice support a new trial order in this case.      First, the circumstances of Mr.

Carpenter's trial incarceration made it difficult for him to assist in his own defense. Mr.

Carpenter being awoken every trial day at 4:00 a.m. and transported to the Court in a cramped

van in shackles until he became seriously ill and the Doctor at Wyatt intervened to ensure he was

only handcuffed. Most evenings, Mr. Carpenter would not get back to Wyatt until 8:00 p.m., just

in time for a quick meal and lockdown at 9:00 p.m. Any time there was a break in the trial

proceedings, Mr. Carpenter was promptly returned upstairs to his holding cell without access to

any files, evidence, or counsel.

       Through this Motion for Reconsideration, Mr. Carpenter respectfully asserts that he was

deprived of his constitutional access to counsel as a result of his significallt health concerns and

the circumstances surrounding his incarceration.        Therefore, because Mr. Carpenter was

prevented from putting on his best defense and from uulimited access to his counsel, as provided




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by the Sixth Amendment, the Court should grant both this Motion for Reconsideration and Mr.

Carpenter's Motion for a New Trial in the interest ofjustice pursuant to Rule 33.

   I. LEGAL STANDARD

       Unlike the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure do

not expressly provide for reconsideration. Nonetheless, the District of Connecticut's Local Rules

of Criminal Procedure do contemplate the use of motions for reconsideration in criminal cases.

See D. Conn. L. Crim. R. l(c) ("The following Local Civil Rules shall apply in criminal

proceedings: .. , 7(c) (Motions for Reconsideration)."). The Local Criminal Rules in the District

of COimecticut specifically provide for Motions for Reconsideration pursuant to Rule 7(c).

"Because no rule of criminal procedure addresses motions for reconsideration, courts typically

adopt the standards applied to such motions in civil cases....Reconsideration is appropriate only

"if there has been an intervening change in controlling law, there is new evidence, or a need is

shown to correct a clear error oflaw or to prevent manifest injustice." United States v. Sanchez,

35 F.3d 673, 677 (2d Cir. 1994)." Lucarelli, 490 F.Supp.2d at 296-97. It is asserted that this

Motion is necessary to "prevent manifest injustice" in this case.

   II. THE GOVERNMENT CONSTRAINED MR. CARPENTER'S ACCESS TO HIS
         COUNSEL IN VIOLATION OF THE SIXTH AMENDMENT

       Based on the govermnent's complaints that Mr. Carpenter could be overheard talking to

his attorneys during the presentation of the govermnent's case, the Court instructed Mr.

Carpenter to not speak to his attorneys so loudly because, as the Court stated:

       " .. .1 don't hear what you're saying, but I am distracted by your whispering, and I notice
       that Mr. Novick is as well. Please understand, imagine you're going to a movie and
       you're trying to pay attention to the movie and the person in the row behind you is
       talking. It makes it difficult for you to focus on the movie and it can actually get to be
       annoying, and that's what I'm experiencing as I'm trying to listen to the testimony and
       you're whispering with your counsel." See T. Tr. Vol. III at 659-660 attached as Exhibit
       One.

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Later on in the trial proceedings, the issue came up again, and defense counsel asked for a

mistrial based on Mr. Novick overhearing Mr. Carpenter's protected and privilege conversations

with his counsel. See Tr. T. Vol. XI at 1969-75, attached as Exhibit Two. In this particular

piece of dialogue from Mr. Carpenter's trial, Mr. Novick states that he is just trying to do his job,

and because Mr. Carpenter is whispering things to his attorney, " .. .it just becomes extremely

difficult for me to do my job ...." See T. Tr. Vol. XI at 1970.

        Compare this statement by Mr. Novick:

        "The Court's admonished the defendant to this effect, I have told counsel that it's
        distracting. I've looked over there to try and suggest that, please be quiet. It has not been
        a perpetual thing where I can hear contents. It's mostly a sort of din of noise." See T. Tr.
        Vol. XI at 1971.

with the following statement by Mr. Novick on the same page ofthe Trial Transcript:

       "And, moreover, Your Honor, the paliicular thing that I made mention of, the whole
       point of my discussion was that I thought it was irrelevant to the trial and the whole line
       of questioning and the comments were irrelevant to the line of inquiry."

       Thus, while Mr. Novick assured the Court that he did not hear what Mr. Carpenter was

saying to his attorneys, he then states what Mr. Carpenter was talking about was "irrelevant to

the trial and the whole line of questioning." T. Tr. Vol. XI at 1971. Therefore, it is reasonable to

believe that the government had overheard at least some conversations between the defendant

and his trial counsel.

        Simply put, Mr. Carpenter was disadvantaged by the government during trial by failing to

ensure that Mr. Carpenter had adequate opportunity to participate in his defense, have access to

the necessary discovery, and have adequate ability to cOlmmmicate with counsel at trial.




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   I1I.MR. CARPENTER DESERVES A NEW TRIAL IN THE INTERESTS OF
         JUSTICE

       Now that Mr. Carpenter is no longer incarcerated as a result of his prior conviction, the

interests of fairness and justice necessitate allowing him a new trial. During every break in the

trial proceedings Mr. Carpenter was escorted back to a holding cell by the marshals, further

limiting his access to counsel during trial. For all of the reasons stated in Mr. Carpenter's several

Rule 33 Motions, a new trial is appropriate for Mr. Carpenter. Moreover, it is respectfully

suggested that the Court hold a hearing and grant this Motion for Reconsideration based on the

fact that Mr. Carpenter's case is unique and he did not receive a fair trial with full assistance of

counsel and he was not allowed to put on his "best defense" as guaranteed by the Constitution

and the Supreme Court.

       As the Supreme Court said in Adams v. United States ex ret. McCann, 317 U.S. 269

(1942), "[The defendant] must have time and facilities for investigation and for the production of

evidence. But evidence and tmth are of no avail unless they can be adequately presented.

Essential fairness is lacking if an accused cannot put his case effectively in court." Id. at 279.

American courts have traditionally followed Blackstone's "ancient" English mIe, that "[O]ne at

the trial should have the unrestrained use of his reason, and all advantages, to clear his

innocence. Our American courts adhere pretty closely to this doctrine." See Deck v. Missouri,

544 U.S. 622, 627 (2005).

       Moreover, the remedy here is to give Mr. Carpenter nnfettered access to the discovery in

this case, unfettered access to his attorneys at a new trial, including lunch, without being taken

back to a holding cell.




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                                       CONCLUSION

       For the reasons stated in his prior motions and for the reasons above, Mr. Carpenter

respectfully moves this Court to grant this Motion for Reconsideration and order a new trial for

Mr. Carpenter in this case.

       Wherefore, it is so moved.
                                            Respectfnlly submitted,
                                            Defendant, Daniel Carpenter


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                                            By
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                       ONE
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                       UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF CONNECTICUT



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      UNITED STATES OF AMERICA                No.   3:13CR226 (RNC)

                 vs.

      DANIEL CARPENTER, ET AL,
                                              HARTFORD, CONNECTICUT
                          Defendants.         February 19, 2016

      - - - - - - - - - - - - - - - - x




                                BENCH TRIAL
                                 VOLUME III



           BEFORE:

                     HON. ROBERT N. CHATIGNY, U.S.D.J.




                                        Darlene A. Warner, RDR-CRR
                                        Official Court Reporter
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                                                 Vol. III, 659


 1     yesterday, but I take Mr. Brown at his word that he's

 2     doing his best to provide me with the information to the

 3     extent that it exists.

 4               At some point though, Your Honor, I do believe

 5     we're -- I don't like the idea of precluding.      I want to

 6     protect this record here.     I want the defendant to be able

 7     to put on whatever defense he wants to put on, but at some

 8     point it just becomes unreasonably unfair to the

 9     government.

10               THE COURT:     Mr. Brown, how much time do you need

11     to do this realistically?

12               MR. BROWN:     Probably by the middle of next week,

13     Your Honor.

14               THE COURT:     Then that's the deadline, okay?      I

15     think that that helps everybody, because it gives you a

16     deadline, it the government reassurance.

17               MR. NOVICK:     Thank you, Your Honor.

18               THE COURT:     Last thing, ,Mr. Carpenter, please

19     understand that I want you to be able to confer with your

20     counsel whenever you need to and whenever you want to, but

21     I can hear you.   I don't hear what you're saying, but I am

22     distracted by your whispering, and I notice that

23     Mr. Novick is as well.

24               Please understand, imagine you're going to a

25     movie and you're trying to pay attention to the movie and
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                                                     Vol. III, 660


 1     the person in the row behind you is talking.         It makes it

 2     difficult for you to focus on the movie and it can

 3     actually get to be annoying, and that's what I'm

 4     experiencing as I'm trying to listen to the testimony and

 5     you're whispering with your counsel.

 6                  Again, I don't want to curb your consultations,

 7     but I must ask that somebody do something to deal with

 8     this problem because it's a problem.

 9                  THE DEFENDANT:   From what I understand, Your

10     Honor, they turned around the microphone and I was totally

11     unaware that I was causing any distraction.        So my counsel

12     here turned around the microphone and gave me a           so

13     hopefully it's a solved problem, and I apologize.

14                  THE COURT:    No, no, there's no need for you to

15     apologize.     I appreciate your consideration.     But even as

16     late as the very end of this last witness's testimony when

17     you were conferring with Mr. Brown, Mr. Novick was having

18     difficulty hearing the witness because of the

19     interference.

20                  Am I right, Mr. Novick?

21                  MR. NOVICK:   Yes, Your Honor.

22                  THE COURT:    It's been a problem for me and I

23     believe it's been a problem for other people.         So I don't

24     know what we can do differently, but we need to do

25     something.
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                                                  Vol. III, 661


 1               MR. BROWN:    Actually we we can shut off this

 2    microphone.

 3               MR. NOVICK:    I don't know it's the microphone,

 4    Your Honor.

 5               THE COURT:    I think you have a deep voice that

 6    tends to carry.

 7               MR. BROWN:    We'll do our best to make sure it

 8    doesn't happen.

 9               THE COURT:    It may be that you can -- well,

10    let's see how it goes.

11               THE DEFENDANT:   We're going to use the yellow

12    sticky notes and things like that; and once again, I

13    apologize and we'll definitely be careful with the

14    microphones.

15               THE COURT:    Okay, thank you.

16                      (Proceedings adjourned at 4:47 p.m.)

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                   EXHIBIT
                    TWO
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 1                      UNITED STATES DISTRICT COURT

 2
                      FOR THE DISTRICT OF CONNECTICUT
 3

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 5                                 - - - x

 6     UNITED STATES OF AMERICA               No.   3:13CR226 (RNC)

 7                vs.

 8     DANIEL CARPENTER, ET AL,
                                              HARTFORD, CONNECTICUT
 9                         Defendants.        March 3, 2016

10     - - - - - - - - - - - - - - - - x

11

12
                                BENCH TRIAL
13                                VOLUME XI

14

15

16          BEFORE:

17                    HON. ROBERT N. CHATIGNY, U.S.D.J.

18

19

20

21

22

23

24                                       Darlene A. Warner, RDR-CRR
                                         Official Court Reporter
25
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                                                Vol. XI, Page 1969


 1                               10:00 A.M.

 2

 3               THE COURT:    Good morning.

 4               Mr. Novick?

 5               MR. BROWN:    Good morning, Your Honor, we're all

 6     set.-

 7               THE COURT:    Mr. Brown?

 8               MR. BROWN:    Your Honor, there's a concern that's

 9     been raised, Your Honor, and I feel we need to -- actually

10     this is part of the problem.

11               The Court notes, I turn the microphone around

12     when I'm sitting at the desk with my client and

13     co-counsel, and I do that, quite frankly, in part because

14     of the Court's comments on the first day of trial.    We're

15     trying to obviously respect the Court's hints in terms of

16     communication.   We've been trying to do our best to, for

17     obvious reasons I might add, self-serving reasons, to keep

18     our cOlIuuunications confidential.

19               Yesterday counsel for the government in making

20     an argument and trying -to I suppose influence the Court on

21     a particular issue did comment that he had overheard some

22     conversation between counsel and the defendant, or the

23     defendant sometimes, in attempting to talk to counsel

24     apparently.   And our concern is of course that one thing

25     is sacred, and that is communication between counsel and
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                                                      Vol. XI, Page 1970


 1     client.    And we were disturbed to learn that for whatever

 2     reason counsel has been hearing some of our conversations,

 3     and I don't know what the extent of those conversations

 4    were.      I don't know if it turns out to be a violation of

 5     the Sixth Amendment, effective assistance of counsel, if

 6     it's not really confidential, Your Honor.          And I would ask

 7     the Court to inquire of counsel exactly what he's heard.

 8                  I just don't know whether or not this should be

 9     a motion for mistrial or whatever because I don't have

10    enough information yet.

11                 THE COURT:    Thank you.

12                 Mr. Novick?

13                 MR. NOVICK:    Your Honor, first of all, I

14    apologize for the comment yesterday.           It was imprudent.

15    And it was in part, Your Honor -- I should not act out of

16    frustration, but it is frustrating, because I don't want

17    to hear what the defendant is saying, and I hope the Court

18    understands that.

19                  I-t' s very difficult to both try to listen to

20    counsel and at the same time have in the background,

21     noise, outbursts, things like that, and I am doing my best

22    not to listen.      And then sometimes when I hear argument on

23    one side and argument on the other side, it just becomes

24    extremely difficult for me to do        rr~   job, which is to

25     concentrate on what counsel is saying and what the witness
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                                                Vol. XI, Page 1971


 1    is saying.

 2                 I have gone so far as to move closer to

 3    Mr. Patel, to turn my chair to face the other way.      So I'm

 4    taking the steps that I know how to do.

 S                 The Court's admonished the defendant to this

 6    effect, I have told counsel that it's distracting.       I've

 7    looked over there to try to suggest that, please be quiet.

 S    It has not been a perpetual thing where I can hear

 9    contents.     It's mostly a sort of din of noise.

10                 It was just on that particular occasion what was

11    frustrating is I'm hearing one argument on one side and

12    one argument on the other side, and it occurred to me to

13    be some disingenuity, which was frustrating for me trying

14    to assess how to respond to particular arguments.

15                 I will continue to try to tune it out.    It's

16    certainly not my intention to -- never my intention to

17    invade the defense camp.

18                 And moreover, Your Honor, the particular thing

19    that I made mention of, the whole point of my discussion

20    was that I thought it was irrelevant to the trial and the

21    whole line of questioning and the comment were irrelevant

22    to the line of inquiry.

23                 So again, Your Honor, I apologize, it was an

24    imprudent remark, and I Jill continue to do my best to

25    avoid hearing anything.     That's all, Your Honor.
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 1                MR. BROWN:   Your Honor, the -- and I appreciate

 2     those words, Your Honor, but my concern really is whether

 3     or not in fact he overheard any private conversation

 4     because that could affect our defense, Your Honor.      So I

 5     don't know if it's just he heard noise or if he actually

 6     heard.

 7                So I would simply ask the Court, he's an officer

 8     of the Court, I have no reason to believe he would

 9     misstate the truth, but I certainly would need to know and

10     my client wants to know whether or not he actually

11     overheard us discuss any strategy or any comments.

12                The fact that my client and I have a

13     conversation, I wouldn't necessarily characterize it, by

14     the way, as any kind of disagreements or anything, which

15     is he writes notes because of that's the way we're trying

16     to do things in order to keep the noise level at a

17     minimum.   But certainly at times during a witness's

18     testimony, it's not unusual for him, and I actually want

19     him to do it, is to alert me if he believed the witness is

20     not being accurate in terms of some of the information

21     being conveyed to the Court.

22                So that's what goes back and forth, Your Honor.

23     We're not talking about baseball or other things.      We're

24     just simply trying to do our best to prepare to

25     cross-examine these witnesses, Your Honor.    And I simply
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 1     need to know on the record whether or not counsel for the

 2     government overheard specifics in any conversation I had

 3     with my client.

 4                 THE COURT:     Mr. Novick?

 5                 MR. NOVICK:     Certainly.     I recall nothing else

 6     specific.    To be clear, I do not hear Mr. Brown at all,

 7     and perhaps that's just Mr. Brown's years of experience,

 8     he modulates his voice.      And that's one of the issues

 9     going on here.    I'm not at all suggesting that this is the

10     defendant's fault.       This is a difficult contrived

11     situation that we find ourselves in all trying to work in

12     the same area, but trying to have our own private

13     conversations, and I recognize it's difficult.         We do the

14     same thing on our side and make sure that when we're

15     talking, we are doing so in hushed tones and with our

16     hands over our mouths, and I expect the same of the

17     defense.

18                 There's nothing else that I can report to the

19     Court that I've heard.       Just noise.

20                 THE COURT:     Have you -- picking up on

21     Mr. Brown's specific request, have you overheard any

22     attorney/client discussions of defense strategy?

23                 MR. NOVICK:     No, Your Honor.

24                 THE COURT:     Do you feel you have in any way

25     gained an unfair advantage as a result of whatever you
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                                                  Vol. XI, Page 1974


 1     have picked up?

 2               MR. NOVICK:    No, Your Honor.    If anything, I

 3     feel I've gained   a disadvantage   by having my attention

 4    diverted in multiple directions during the course of

 5     trial.

 6               THE COURT:    I do regret that the physical set up

 7    in the courtroom and the acoustics are such that this

 8     issue arises.

 9               I will say that I can understand Mr. Novick's

10    position because that's what was happening for me.       I

11    didn't want to hear what was being said, but I could hear

12    the noise, for lack of a better word, and I wish I had a

13    better word.

14               So I credit Mr. Novick's explanation and I don't

15    think there's a basis for a mistrial.

16               MR. NOVICK:    Just to add to the record here,

17    Your Honor, I don't know where this will go, but as Your

18    Honor is aware, I've been here for trial in the past and

19    I've never had the issue before.       I've appeared in this

20    courtroom before Your Honor, before Judge Droney, I've

21    appeared in the other courtroom, south courtroom, before

22    Judge Thompson for several trials in the past, and never

23    had the same issue and it's the same set up.

24               This is a new issue for me, so I don't think

25    that the courtroom set up in here is any different or
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 1     anything out of the ordinary that all of the defendants

 2     have to sit through trial in.

 3               THE COURT:     Yes, I didn't mean to suggest that I

 4     think that anybody's at fault.

 5               At any rate, I think we should proceed.

 6               Do you have your witness for us?

 7               MR. NOVICK:     We do.   We call Ken Elder.

 8               THE COURT:     Good morning.    If you would please

 9     stand at the chair, our clerk will swear you in.

10               THE CLERK:     I'm going to ask you to raise your

11     right hand.

12

13                              KENNETH ELDER,

14           called as a witness, having been first duly

15           sworn or affirmed, was examined and testified as

16           follows:

17

18               THE CLERK:     Please be seated.

19               Please state your name and spell your last name

20     for the record.

21               THE WITNESS:     Kenneth Elder, E-L-D-E-R.

22               THE CLERK:     Your business address, please?

23               THE WITNESS:     100 North Green Street,

24     Greensboro, Nor.th Carolina, 27401.

25               THE CLERK:     Thank you.   Please be seated.
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                                      CERTIFICATION

        This is to certify that on November 14, 2017, a copy of the foregoing Motion was served
by email to all parties by operation ofthe Court's electronic filing system or by email on anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Paliies may
access this filing through the Court's CMlECF System.

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